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                      Exhibit 7
     Declaration of Health Services Administrator
                        S. Hall

                    Mostafa v. Garland, et al.,
              No. 20-cv-00694-PAB-SKC (D. Colo.)
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-00694-PAB-SKC

  MOSTAFA KAMEL MOSTAFA,

         Plaintiff,

  v.

  MERRICK GARLAND, United States Attorney General, in his official capacity,
  CHRISTOPHER WRAY, FBI Director, in his official capacity,
  MICHAEL CARVAJAL, BOP Director, in his official capacity,
  B. TRUE, ADX Warden, in his official capacity,
  TUTOILUMUNDO, ADX Unit Manager, in his official capacity,
  MACMILLAN, ADX Facilities Department, in his official capacity,
  FOLLOWS, ADX Medical Department Manager, in her individual capacity,
  LOEWE, ADX officer, in his individual capacity,
  NORJANO, ADX Officer, in his individual capacity,
  CHOROSEVIC, ADX Occupational Therapist, in his individual capacity,
  PARRY, ADX Officer, in his individual capacity,
  AVERIT, ADX Officer, in his individual capacity,
  GARDUNO, ADX Lieutenant, in his individual capacity,
  WILLIAM, ADX Nurse, in his individual capacity,
  HUDELSTON, ADX Nurse, in his individual capacity,
  STERETT, ADX Doctor, in his individual capacity,
  ARMIJO, ADX Lieutenant, in his individual capacity, and
  EDWARDS, ADX Officer, in his individual capacity,

         Defendants.

          DECLARATION OF HEALTH SERVICES ADMINISTRATOR S. HALL

         I, Health Services Administrator S. Hall, pursuant to 28 U.S.C. § 1746, and based upon

  my personal knowledge and information made known to me from official records reasonably

  relied upon by me in the course of my employment, hereby declare as follows relating to the

  above-titled matter.

         1.      I am the Health Services Administrator (HSA) with the Federal Bureau of Prisons


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  (Bureau) at the Federal Correctional Complex in Florence, Colorado (FCC Florence). FCC

  Florence includes four separate institutions: the Federal Prison Camp (FPC) (minimum security),

  the Federal Correctional Institution (FCI) (medium security), the United States Penitentiary

  Florence – High Security (USP), and the United States Penitentiary Florence – Administrative

  Maximum (ADX). I have been employed by the Bureau, in positions of increasing responsibility

  since March 2014. I have been the HSA at FCC Florence and the ADX since November 2021.

         2.      In connection with my employment, I have access to records maintained in the

  ordinary course of business by the Bureau, including information maintained in the SENTRY

  database 1 and inmate medical records. The attachments to this declaration are true and accurate

  copies of Bureau records maintained in the ordinary course of business.

         3.      I am familiar with Mostafa Kamel Mostafa, register number 67495-054, who is

  incarcerated at ADX. I am aware of this litigation, including Mostafa’s claim that the Bureau

  has failed to provide him adequate prostheses. That is inaccurate.

         4.      The Bureau has long been and remains willing to provide Mostafa new prostheses

  or to repair his existing prostheses, as he has repeatedly been informed. The Bureau Director for

  Rehabilitation Services, an occupational therapist, has evaluated Mostafa, most recently on

  February 16, 2022, and again determined that Mostafa’s underutilization of prostheses is the

  reason for Mostafa’s claimed lack of independence at ADX. Clinical Encounter, Attachment 1 at

  2.

         5.      Until very recently, Mostafa had not cooperated with the Bureau’s efforts to have


  1
    SENTRY is the Bureau’s national database which tracks various data regarding an inmate’s
  confinement, including, but not limited to, an inmate’s institutional history, sentencing
  information, participation in programs, administrative remedies, and discipline history.

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  new prostheses made for him or its offer to repair the prostheses he has.

         6.      In January 2021, the Bureau brought a contract specialist into the ADX to

  measure Mostafa for new prostheses and/or repair his existing devices. He ultimately refused

  both offers. 2/10/2021 Clinical Encounter – Administrative Note, Attachment 2; 2/21/2021

  Medical Treatment Refusal Form, Attachment 3; 1/26/2021 Clinical Note from Prosthetic and

  Orthotic Group of Northern Colorado Pueblo, Attachment 4.

         7.       On or about July 18, 2022, Mostafa requested an evaluation for new prostheses.

  His request has been approved by the Bureau and is currently pending scheduling.

         8.      I have reviewed Mostafa’s Bureau medical records. There is no indication in those

  records since his arrival at the ADX on October 8, 2015 (1) that the bone on his arm stumps is

  exposed, (2) that he has ever having complained of, or been diagnosed with, a “bone infection”

  while in BOP custody, and (3) that there is any evidence of skin breakdown suggesting an inability

  to clean himself, including his perianal areas. Mostafa’s hygiene recently was assessed to be

  “well-maintained,” with no evidence in his Bureau medical records to support the contention “that

  he has had a number of instances of skin breakdown in his perianal area.” Attachment 1 at

  2. Mostafa has never had to have a “further amputation” of an arm, see ECF No. 199 ¶ 146, during

  his incarceration at ADX or at any point during his tenure in Bureau custody.




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         Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury that the

  foregoing is true and correct to the best of my information, knowledge, and belief.

         Executed on August 18, 2022, in Florence, Colorado.


                                                       /s/ S. Hall
                                                       S. Hall
                                                       Health Services Administrator
                                                       ADX Florence
                                                       Federal Bureau of Prisons



  Attachment 1: 2/16/2022 Clinical Encounter note
  Attachment 2: 2/10/2021 Clinical Encounter – Administrative Note
  Attachment 3: 2/21/2021 Medical Treatment Refusal Form
  Attachment 4: 1/26/2021 Clinical Note from Prosthetic and Orthotic Group of Northern
  Colorado Pueblo




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                             Attachment 1
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                                                          Bureau of Prisons
                                                           Health Services
                                                          Clinical Encounter
Inmate Name: MOSTAFA, MOSTAFA KAMEL                                                           Reg #: 67495-054
Date of Birth:                                             Sex:      M   Race: WHITE          Facility: FLM
Encounter Date: 02/16/2022 08:12                           Provider: Chorosevic, P. OTR/L,    Unit:     H05


Occupational Therapy - Evaluation encounter performed at Rehabilitation Services.
SUBJECTIVE:
    COMPLAINT 1                  Provider: Chorosevic, P. OTR/L, CHT
       Chief Complaint: Other Problem
       Subjective:   Late entry due to awaiting BEMR access

                        Inmate Mostafa, Kamel Mostafa, reg #67495-054, was evaluated on 2-16-2022 by an
                        Occupational Therapist in his cell after a review of his Bureau Electronic Medical Record
                        (BEMR) and survey of his cell.

                        This is a 63 year old Egyptian by birth who transferred to ADX Florence in October, 2015 from
                        the US Medical Center for Federal Prisoners (USMCFP) Springfield. He is a bilateral below
                        elbow amputee sustained from explosion in 1993. He also sustained loss of vision in his left
                        from said explosion. Significant co-morbidity includes type II diabetes with peripheral
                        neuropathy (DM II), s/p cataract surgery, hypertension (HTN), and psoriasis. He was
                        previously evaluated in April, 2016 with subsequent recommendations for accommodations
                        and adaptive equipment given to administration. The adaptive equipment that was provided
                        for this inmate was returned by the inmate and never used. Pictures of the equipment were
                        taken for the record.

                   Pt's Goal
                   He wants to be as independent without using his bil UE prostheses
       Pain:       Yes
       Pain Assessment
         Date:                 03/03/2022 08:20
         Location:             Multiple Locations
          Quality of Pain:             Aching
          Pain Scale:                  6
          Intervention:                Assessment
          Trauma Date/Year:
          Injury:
          Mechanism:
          Onset:                       5+ Years
          Duration:                    5+ Years
          Exacerbating Factors:        Cold weather, using prostheses
          Relieving Factors:           Warm showers, avoid using prostheses
          Reason Not Done:
          Comments:



OBJECTIVE:

Exam:
    Musculoskeletal
       Radius / Ulna
Generated 03/03/2022 11:08 by Chorosevic, P. OTR/L, CHT      Bureau of Prisons - FLM                                Page 1 of 3
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Inmate Name: MOSTAFA, MOSTAFA KAMEL                                                            Reg #: 67495-054
Date of Birth:                                            Sex:      M   Race: WHITE            Facility: FLM
Encounter Date: 02/16/2022 08:12                          Provider: Chorosevic, P. OTR/L,      Unit:     H05

                No: Normal Exam

 Comments
    After reviewing this inmate's BEMR record, significant documentation was noted-
    -BEMR encounter dated 12-16-2020 entered by Rieth, Paul Prosthetist/Orthotist in which inmate insists on being fitted
    with 2 new prostheses.
    -Treatment refusal for prosthetics repair and or replacement dated 2-12-2021.
    -Clinical note dated 2-12-2021 for encounter between the inmate and Bush, Todd Certified Prosthetist/Orthotist

    Inmate Mostafa's cell was surveyed while the inmate was at recreation. His cell was approximately twice the size of the
    other standard cells in this unit and was fitted with a handicapped shower. A "shower curtain" presumably fashioned
    and installed with velcro covered the front of the shower opening (picture). Pictures and legible handwritten notes,
    prayers and/or inspirational messages were placed on a desk or affixed to the cell walls with postage stamps (pictures).
    Secured pill bottles of self-carry medications were also in a box on the inmate's desk (picture). A note stating "No
    breakfast today thanks" was affixed to the front of his cell (picture). A pair of reading glasses with a string taped to both
    ear pieces was also on the inmate's table as was the inmate's right prosthesis with an ink pen secured in the terminal
    device (pictures). Staff confirmed that the inmate submitted his administrative remedies, all responded that they were
    handwritten and legible.

    Both the right and left prostheses were left in his cell. These were body powered with what appeared to be Hosmer
    Dorrance voluntary opening hook terminal devices.

    After inmate Mostafa's cell was inspected, he was brought back to his cell to discuss his requests. The inmate stated
    that he could not wipe himself after defecating. He refused to attempt to use the adaptive equipment that might assist
    him with this task, stating, "Don't degrade and humiliate me by suggesting that I use it" (picture of device). When asked
    how he presently cleans himself, he said that he doesn't. When it was brought to his attention that his overall hygiene
    appeared to be well-maintained, he stated that he has had a number of instances of skin breakdown in his perianal
    area. A review of BEMR encounters does not support this contention.

    The inmate stated that he did not have a brush with a handle to brush his hair. It was noted that the inmate possessed
    a brush with a broken handle and with a strap fastened to it that apparently allows the inmate to slip one of his residual
    stumps through the loop to maintain control of the hair brush.

    The inmate stated that he could not adequately brush his teeth because the handle of the toothbrush slips in his
    prosthesis. A toothbrush that apparently was well-used was observed on the inmate's table (picture). One could
    generalize that if a pen could be stabilized in the terminal device of his prosthesis in order to write legibly than the
    inmate should have the capacity to maintain control of a toothbrush with a built up handle. Additionally, the inmate
    refused a toothbrush with replaceable heads offered previously (picture).

    The inmate had concerns that water would saturate his cell floor because his shower stall accommodated a wheelchair
    and lacked a lip to keep water from running out. This was confirmed by visual inspection.
ASSESSMENT:
        Other
        After reviewing this inmate's medical record, surveying his cell, interviewing him and observing his activities, it is
        believed that his reported lack of independence continues to be a result of underutilization of his prostheses. Based on
        examples of tasks that were completed that require bilateral hand dexterity such as affixing pictures and notes to walls
        with stamps, writing, opening food containers, packages and pill bottles to name a few, the patient can demonstrate
        greater independence if he chooses.

        The results of this evaluation revealed that the inmates is or has the ability to complete his BADL using his prostheses
        and/or modified technique/adaptive equipment. All sanitation and toiletries are provided and maintained according to
        policy.


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Inmate Name: MOSTAFA, MOSTAFA KAMEL                                                          Reg #: 67495-054
Date of Birth:                                            Sex:      M   Race: WHITE          Facility: FLM
Encounter Date: 02/16/2022 08:12                          Provider: Chorosevic, P. OTR/L,    Unit:     H05

PLAN:

Other:
    Recommendations to be considered include the following-

    1. Consider having the Facilities Department install a rubber lip at the entrance to the shower to prevent water from
    running into the living space of the cell.

    2. Issuing hair brush with loop to allow inmate the option of brushing hair using his prosthesis or using his residual
    stump to control the brush.

Patient Education Topics:
    Date Initiated Format                             Handout/Topic                          Provider                Outcome
    03/03/2022     Counseling                         Other                                  Chorosevic, P.          Attentive
          Inmate was offered suggestions on alternative methods for completing self-care tasks that he currently hasn't
          implemented.

Copay Required:No                            Cosign Required: No
Telephone/Verbal Order: No
Completed by Chorosevic, P. OTR/L, CHT on 03/03/2022 11:08




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                                               Bureau of Prisons
                                                Health Services
                                    Clinical Encounter - Administrative Note
Inmate Name:        MOSTAFA, KAMEL MOSTAFA                                              Reg #:            67495-054
Date of Birth:                                         Sex:      M    Race:WHITE        Facility:         FLM
Note Date:          02/10/2021 13:44                   Provider: Fellows, A. AHSA, LCSW Unit:             H05


Admin Note - General Administrative Note encounter performed at Housing Unit.
Administrative Notes:
      ADMINISTRATIVE NOTE              1          Provider: Fellows, A. AHSA, LCSW
          Late Entry

             This writer was present during the inmate's most recent orthotics visit in January 2021. The writer observed
             the provider offering to make new prosthetics devices for the inmate's arms as a replacement for the current
             prosthetics. The inmate was counseled on the risks and benefits. The provider also offered to take the
             inmate's old devices and repair them giving a two week turn around time. The plan in this case would have
             been for the inmate to give the provider his old prosthetic devices, the ones obtained during his out of country
             prison stay, and to bring them back in two weeks fully repaired. In the mean time the inmate would then be
             relying on the BOP issued prosthetics issued to the inmate during his BOP incarceration. The inmate
             declined, saying he did not wish to use the BOP devices. At this point, the inmate is refusing new or repaired
             prosthetic devices. He was counseled on risks and benefits. A refusal form will be obtained.


Copay Required:No                            Cosign Required: No
Telephone/Verbal Order: No
Completed by Fellows, A. AHSA, LCSW on 02/10/2021 14:34




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                                         Bureau of Prisons
                                          Health Services
                                          Cosign/Review
Inmate Name:     MOSTAFA, KAMEL MOSTAFA                                 Reg #:      67495-054
Date of Birth:                                Sex:          M           Race:       WHITE
Scanned Date:    02/12/2021 11:49 EST                                   Facility:   FLM

Reviewed by Oba, D. MD on 02/12/2021 12:06.




                                              Bureau of Prisons - FLM
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